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NOTICE OF AND RESCISSION OF DEFENDANT MORRIS" SECOND MOTION TO
EXCLUDE TIME WITHIN WHICH THE TRIAL FOR THE OFFENSES CHARGED IN THE
SUPERSEDING INDICTMENT MUST COMMENCE PURSUANT TO 18 U.S.C.
§3161(h) (7) (B) (i) (ii) AND (iv) AND CONTINUANCE OF DEADLINES CURRENTLY
SET FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105
Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 215 Filed 05/03/11 USDC Colorado Page 1 of
10 DEFENDANT MORRIS' SECOND MOTION TO EXCLUDE TIME WITHIN WHICH THE TRIAL FOR THE OFFENSES
CHARGED IN THE SUPERSEDING INDICTMENT MUST COMMENCE PURSUANT TO 18 U.S.C. §3161(h) (7) (B)
(4) (44_ AND (iv) AND CONTINUANCE OF DEADLINES CURRENTLY SET 1, Page 2 of 10 2, Page 3 of
10 3, Page 4 of 10 4, Page 5 of 10 5, Page 6 of 10 6, Page 7 of 107, Page 8 of 10 8,
Page 9 of 10 9, Page 10 of 10 Lisa M. Wayne Wendy S. Anderson 10"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Richard Kellogg Armstrong and the original "supra" including every copy bearing
my signature and date, for cause. I made a mistake creating, signing and presenting the
DEFENDANT MORRIS' SECOND MOTION TO EXCLUDE TIME WITHIN WHICH THE TRIAL FOR THE OFFENSES
CHARGED IN THE SUPERSEDING INDICTMENT MUST COMMENCE PURSUANT TO 18 U.S.C. §3161(h) (7) (B)
(1) (411) AND (iv) AND CONTINUANCE OF DEADLINES CURRENTLY SET. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act
and deed.

lomy son, if you become surety for your friend, if you have shaken hands in a Pledge for a stranger", 2"you
are snared by the words of your mouth; you are taken by the words of your mouth." 3"go ao this, my son, and
geliver yourself; for you have come into the hand of your fr end; go humble yourself; plead with your friend."
“Give no sleep to your eyes, nor slumber to your eyelids." -"Deliver yourself like a gazelle from the hand
of the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

1 L E D Sincerely
oreo CHORADO Litpadl Lillass, Y dein,

DENVER, COLORADO
Richard Kellogg Armstrong
JAN 17 2014 c/o 20413-298
Federal Correctional
JEFFREY P. COLWELL Institution - Lompoc
CLERK 3600 Guard Road
wee Lompoc, California

 

Page 1 of 2
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Case 1:10-cr-00317-REB Document 215 Filed 05/03/11 USOC Célora

   
  

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

 

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RRIS’ SECOND MOTION TQ EXCLUDE TIME WITHIN WHICH
THE OFFENSES CHARGED IN RYE UPERSEDING INDICTMENT

ENCE PURSUANT TO 18 U.S.c 161(h)(7)(B)i) (ii) AND (iv)
CONTINUANCE OF DEADLINES C RENTLY SET

NS
The d nt, by and through his stone pursuant to 18 U.S.C. “\

(7)(B)(i) (Qgn moves this Honorable Conn R continue the trial date of May

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2011 and for.an extension of the Speedy trial limits_in the interests of justice and oN
reasons “+ Court as follows: SN
1. The denna incorporates herein by referg DEFENDANT CURTIS L.
MORRIS’ wNe0 CONTINUE TRIAL DATE
That Motion Ne; and denied by this Honor

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2011. The def€ndat further incorporates herein. py reference DEFENDANT MORRiS'
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MOTION TO ry" TIME WITHIN WHICH THE TRIAL FOR THE OFFENSES
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Ket 186] dated April 5, 204 1.
Court [docket 187] on April 6,

CRIMINA - 10-cr-00317-REB
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v.
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CHARGED IN THE SUPERSEDING INDICTMENT MUST COMMENCE PURSUANT
TO 18 USE. §3161(h)(7)(B)(i) AND (iv) AND CONTINUANCE OF DEADLINES
CURRENT

  
  
  

Honorable n April 7, 2011, wherein th
defendant A ong shall have until Aprit 28, 2

The Gover nt filed a response on April 28,

did not file Rorrise to Morris’ Motion. The C i ji
“~—" 13, 2011 to May 11, heat p.m. [docket 205).
The de nt seeks a continuance of “Rey 16, 2011 trial date a

concomitant of the May 11, 2011 trial eparation conference datefhe use
undersignetic , despite her due diligence ood faith, cannot be AN to
effectively re nt the defendant on May 16, 207° Said attorney has discyssed this
request with both the defendant, cdots rmstrong and his seisone ps
David Owens a Harmon, government cou el, and none of the Parties Qbiéc\to
Said request o ion of time and continuan f the trial date. The inter@gts of

  
 

justice and etnetitutional guarantees to a fair tri i and effective assistance of cou
support the gra this motion. The reasons re discussed below. S
Defense Counsel's aration ‘S
2. After havgg obtained an overview of this , the format of the undersi ed
counsel's revie reparation of this matter h been divided into four aspects
namely, (1) review of Re initial vouinoud te Produced on July 7, 2010

consisting of mogathan 7,433 Pages of witness testimony and records, review of
documents seize@ du g the search warrant execution phase of the Case; (2) a review

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of the first set of Grand Jury transcripts consisting of 114 pages; (3) an analysis of the

previous two bodies of information, crystallization of defenses, and Participation in

 
   
 

forensic nting expert for motions prep

 

evaluati d trial preparation.
To fate, counsel remains in the first p having accomplishe r of
the mage received. However, the So erceding Indictment filed‘on ua

16, 201 aK additional voluminous diskovery, which was recive \

undersign sel on March 29, 2011 consisting-of Bates Numbers 007434 through

0089 dena non-grand jury material tes Numbers GJ002 hro h

GJ0207 rning supplemental grand jury\mate Is) and eleven (11) d disks

that the late Ngrry Hall provided to the grand ju ring the course of his Fabrualy 20114

grand jury appearance. Additionally, wen Harmon indicated in “ass
e

correspond to undersigned counsel A arch 25, 2011 that there (6
sarong SO that contain materials thatmay not have been previous¥ scared.

ralegal, Yendy Anderson, is in ohne of

reviewing t tents of what is believed to be\thesé boxes of materials (which has

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Undersigggd counsel's CJA-appointed p

been scan d are presently being reviewad for case relevance). AUSA K h

‘
Harmon ad¥imeg undersigned counsel that ho ists a video-DVD of the ‘RY:
a to obtain a copy of this vid& u

ts
ay onversion that resulted in a d

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“Te and seizure of Défénwant Morris’s home on July 1, 2009%

    

seizure e , however, counsel was not

April 20, 2017 due to the difficulty of technalo

(2) compute? hard-drives were obtained. Mirror images of those hard-drives were
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providég to undersigned counsel, who had the services of a forensic computer expert

convert Nose into readable format, which was completed on March 22, 2011. The

  
  
   
  

from the Previously disclosed discovery, the roles indivi xy
changed, impact to the theory of the defe : case has changed “A
from an ar. minimal participant to a role that} \now of a co-conspirator in a | ger
overarchit chegne to defraud the Internal re (ue Service, as reflected in the afd

co-defend rry Hall, if believed as credible, inc

f
Mr. Morris’ risk, and A
tigate the details of the SS
bruary 14.15. 2011.

minimum rams s undersigned counsel to further j

Court's requiistt © prepared for trial.

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Case 1:10-cr-00317-REB Document 735-7 Filed 01/17/14 USDC Colorado Page 6 of 11

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Counsel's Additional CJA Case
3. ime counsel accepted the subject-CJA appointment, she was involved in

other cq dpoinee cases in this district erftitled U.S. v. Zhou (10-226): U.S. v. Abram

(07-366) S. v. Lopez (Milton Espinoza — Ox U.S. v. Johnson (10-1138
oh i

v. Atun son-10-326). Although, only ner the

  
  

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require Nygensive wiretap litigation.
3, Counsel's Privately-R ined Matters
has been a sole practitioner me emphasizing criminal fy
adi Ss often involved complex mate Sever of counsel's clients
ee

 

  

 

been of -Standing duration. It is anticipated thtatSaid clientele will continue

counsel's servites or refer other individuals once instant-matter concludes.

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result, coMage! maintains a delicate balance of d the necessary time to V"\

sehen Economically, howevér’ it bs absolutely necessary that counse’
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continue to s@rve the privately-retained part of her Practice while continuing her VA

the instan ndersigned counsel has c back considerably on scceptanc any

prepare for a case of this oe)

and _ usually works a sixty hour week\ Bath CJA appointed parale

 

future ca intil this case is resolved. \

Coyns recognizes the long hours required

   
     

if do not work exclusivelyéor

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other work todev te the needed hours to meee is case, at the time of the filing

Wendy S. An¥er8on and investigator Anthony F. Di
AY. Although, both Ms. Anderson r. DiVirgilio have put aside
of this motion Pry: Anderson and Mr. DiVirgilio are continuing to review the

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discovery identified above and the most recent round of disclosed discovery provided
on Apra 20, 2011 (Bate Stamped 11098-1 1201), and April 28, 2011 consisting of 3,257

pages ents and 6 DVD discs consisting of Steven Broughton’s seized

  

informati

   
   
  

ounsel's Entrance into this Case y. of Government Counsel

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5. ret Indictment was returned in this Gase o ne 8, 2010. The

sre vein of the defendants “ ed persons began, rouful \
the ao (See Grand Jury June 8, 2010 T \ g. 19 Line 12-14) months prior to
( fr

the seagchof Mr. Morris’ home in July of 2009. principal government age
been intol\edNn the case since at least since the Fall of 2008. The lead govern
lawyer, mon, has been counsel since the in ictment, and more rece tly

 
  

joined to theypvernment’s team is Kevin F. Sween
division AE Separiment of justice, Specializing in ses. They separately

combine articipated in the grand jury profeetiings of this case and related ones;
have intrvie ed or in some fashion panicrpated in thainterviews of nearly all of V\
witnesses (Nave geviewed the discovery produced in the case; have actively pages
in the pre- roceedings, and have the reso only the United States

xe
\well. Thus, the government S

 
  
  

Attorney's @ffi@® but the Internal Revenue Service a
Started p this case for trial a year in advance\pf the filing of the initial
indictment, and the appointment of undersigned counsel 6n behalf of Mr. Morris. “It }

clear from "ty recent disclosure of grand jury ma | related to the Superseding
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Indictment (Doc. 40) that the investigation of Mr. M and the co-defendants was

ongoing, “PT up until at least Fees 11. The playing field is far from

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f 11
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6. ersigned counsel's review cannot Slimited by the persons and material
listed overnment for its case in chief di ense of Mr. Morris demands the
review is attorney and defense team of thedhtire\bo of accumulated inform#i
in ord dependently analyze and determing t would be relevant to said

defen $ defense. After all, the government’ weed to prove any of the substarkiv

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counts in the Indictment, as well as the abgénce of the one deceased defenda
allows vernment to focus more upon Mr. is during the trial. Moreover, Y\

 
 
 
   
 

gove. nt's discovery consists of thousands f pages, voluminous electronic data
hard-copy Ngterial seized during the execution o (\

data sem@g from Defendant Morris’ computer hafdriv

indicate tos of the recently-produced disc ery pertains only to the late Larry

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Hall, the balance of the materials cannot be pres d to be without relevance to Mr.

>

Morris’ dafaosd Even a nearly blank docurtent within the discovery has to be

S.

reviewe um, undersigned counsel has a lo gr

adequat repared to defend Mr. Morris.

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pointed Paralegal, in vestigator and Forensic Accounting Expert
7. SX undersigned counsel requested aqditional funds for the CJA Appoint
Paralegal ( y S. Anderson) and CJA Appoint t Investigator (Investigative
rN F. DiVirgilio). Undersig We counsel will also be requesting the
appointment of second CJA counsel in { to bwlable to consolidate the workload,

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and effectivély "Pr" for trial, Undersig sel has not had adequate
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Case 1:10-cr-00317-REB Document 735-7 Filed 01/17/14 USDC Colorado Page 9 of 11

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opportunity to review the newly received discovery to determine if nuggets of

information exist to provide tasks to the CJA Appointed Forensic Accounting Expert .

   

 

 
    
  

Comper Forensic Computer Examiner. Wh the g

corresfendence that it does not necessarily vie Agent Riordan's prospecti

as WN an expert opinion subject to the losure rules, it appears f

undersj counsel's review of the potential opinions that not only will a GJA raguest
ndent expert be forthcoming, but an additional analysis of AN

are arguably incriminating should be riaken by the mm (\

sly denied undersigned counsel's r t for an enlargement oAtime¥or

    
    

    
  
 

Court previ

filing addiwads motions, in part due to the lack of ificity of what motions aio

oust the court can surmise, the | [preparation, and the mff~\

reviewPof recently disclosed discovery soo counsel in the posiffon offhot
ticular motions are outstanding until the completion of the ab

i own their own ape

it would be a significant and se ee burden upon these individ

devote omRrvcus a week for the past three(3) Weeks or the next two (2) we N
rigg’ and

knowing

 
 
 

  
    

prepare for trial. As an example, Ms. Anderson w paring for, second-chai

RY
was a docu chain-of-custody witness in an aéfion/in Arapahoe County, which tria
commenced gn APril 12, 2011 through “me 15, 1/ and she had long ago scheduled
a trip to HougtoM[exas from April 18, 20 thro gh April 24, 2011 to visit her newly

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Case 1:10-cr-00317-REB Document 735-7 Filed 01/17/14 USDC Colorado Page 10 of 11

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marrie§ daughter. Accordingly, she has been unavailable to devote up to 60-hours per
week o8 this case to assist undersigned counsel to prepare for trial.

Recommended Date for the Retrial

      
  

personal, e next eight (6) months or so, it & eliev
commen ial by October 24, 2011. Counsel ee
because does not believe she can be reason bly ri

re cone two-to-three week trial. SUI
for a Fi 4 Cegree sexual assault kidnapping casei

     
   

September 26, 2011. The case involves a potential life sentertce, And

co e

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scheduNd foP a week, and will proceed on that date:

It app&grs from the most recent pleadings fil by the Government [DocRet 21
and by co-defendant Armstrong [Docket 208] that Notithe government and co'
defend —S oppose a continuance of trial SealSn exclusion of time of 90 days.

UndeNign nsel further requests that the Goh be set for status conferen

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early as thl\we ronts ith the government who is in

agreemeR tw ‘ \a5 Possible in light of the “P\
pretrial ence date of May 11, 2011.
2011 and va \

preparation conference of May 11, 2011 be vacate that trial be reset to

 

sansa hr Nore than October 24, 2011 or su date convenient to the courtean

counsel, that tha speedy trial limits be further/ex ed in accordance with this
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resetting, f for such further relief as the cdurt may deem proper.

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Respectfully submitted,
s/Lisa M. Wayne
LISA M. WAYNE
. CERTIFICA SERVICE
| hereby certify that ! have this 3°° dg

20171; | electronically fil
going DEFENDANT MORRIS’ SECO TO EXCLUDE TIME

GED IN THE SUPERSED!
MENT MUST COMMENCE PURSUANT TO 18 U.S.C. §3161(h)(7)(B)(A(ii)
(iv) AND CONTINUANCE OF DEADLINES CURRENTLY SETwith the Clak of

Co sing the CM/ECF system which will
ord. In addition, | further certify that | ha
i) addressed:
Mr.

ichard Kellogg Armstrong
20413-298

 

     
    
   

       
   
  

 
  

aced a copy of the same in

s/Wendy S. Anderson
Wendy S. Anderson

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